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                                         June 13, 2024

VIA EMAIL
AUSA Emily Johnson
AUSA Mitzi Steiner
AUSA Madison Smyser
AUSA Meredith Foster
United States Attorney’s Office
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278

       Re:    Investigation of Sean Combs

Dear AUSAs Johnson, Steiner, Smyser and Foster:

        This letter is to follow up on our letters advising you of Mr. Combs’ travel and our
possession of his passport. We write to inform you that we have also taken possession of several
of his family members’ passports. These include his mother Janice Combs, his daughter Chance
Combs, and his daughter Love Combs. His twin daughters, Jessie and D’Lila’s passports have been
sent into the Department of State for renewal. When they are renewed, we will take possession of
those passports and let you know when we have them. We will update you as we receive more.

       Please let us know if you have any questions.

                                         Respectfully,



                                         Marc Agnifilo
                                         Teny Geragos
